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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 KATHLEEN MOLLER                                                     CIVIL ACTION

 VERSUS                                                              NO. 24-228 c/w 24-781

 MARTIAN SALES, INC., ET AL                                          SECTION: D (2)


                            SCHEDULING CONFERENCE NOTICE
       A call-in telephone scheduling conference is set in this matter for June 24, 2024 at
9:30 a.m. (CST), for the purpose of selecting a trial date and pretrial deadlines.

       Please follow these instructions to participate in the telephone conference

       1.      Call Toll Free: 877-873-8018
       2.      Enter the Access Code -- 8452689 -- followed by the # key.
       3.      The system will ask if you're joining as the host or to otherwise press the # key;
               please press the # key. (At this point you will be placed on hold until the
               conference is activated.)
       4.      You will be alerted once the call is activated and prompted to enter the Participant
               Security Code – 240228 followed by the # key.

This conference will be activated at 9:25 a.m. Please make sure you have dialed in by this time
as roll will be taken before the conference begins.

        TRIAL COUNSEL are to participate in this conference. A paralegal or secretary may not
be substituted. If, however, you are unable for good cause to do so, another attorney in your firm
may participate if acquainted with all details of the case and authorized to enter into any necessary
agreements. If, for good cause, neither is possible, you must file a Motion and Order to Continue at
least one day prior to the above date.

        Counsel adding new parties subsequent to the mailing of this notice shall notify such new
party to participate as required by this notice.

       Counsel are to comply with the discovery disclosure requirements of F.R.C.P. 26(a)(1), 26(f)
and Local Rule 26 and the corporate disclosure requirements of F.R.C.P. 7.1. Counsel are to be
prepared to answer the following questions concerning disclosure:
1.     Have all parties completed your Rule 26(a)(1) mandatory initial disclosures?
2.     Have all parties stipulated that initial disclosures under Rule 26(a)(1) will not be made in
       this case?
3.     Do any of the parties object to making Rule 26(a)(1) initial disclosures in this case?
4.     Have the corporate parties filed their corporate disclosure statements?
5.     In advance of the conference, every party should be familiar with and ensure compliance
       with Rule 7.1, which was amended December 31, 2022.

        Typically, discovery will not be stayed pending the Court’s ruling on motions (even motions
to dismiss or motions to remand). Claims are pending until they are dismissed, and therefore, they
are subject to disclosure and discovery.

ISSUED BY: Melissa Verdun, Case Manager
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